 Case 1:24-mj-00185-PJG     ECF No. 1-1, PageID.2    Filed 05/10/24   Page 1 of 14




                    CONTINUATION IN SUPPORT OF
                 APPLICATION FOR A SEARCH WARRANT

      I, Joshua White, being first duly sworn, hereby depose and state as follows:

      1.    I make this continuation of an application for a search warrant under

Federal Rule of Criminal Procedure 41 and 18 U.S.C. § 2703(c)(1)(A) for information

about the location of the cellular telephone assigned call number 616-308-1500 (the

“Target Phone”), whose service provider is T-Mobile, a wireless telephone provider

headquartered at 4 Sylvan Way, Parsippany, New Jersey 07054, (the “Carrier”).

The Target Phone is described herein and in Attachment A.

      2.    I am a Special Agent (SA) with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (ATF), and I have served as such since July 2022. Prior to

serving as an ATF Special Agent, I was employed by the United States Secret

Service as a Uniformed Division Officer for three and a half years. My daily

responsibilities while serving were to screen passholders and appointments who

had access to the White House Grounds, assist with protectee movements onto and

off of the White House Complex, and enforce D.C. Code as well as Federal Law. I

have completed the Federal Law Enforcement Training Center (FLETC) Uniformed

Police Training program (UPTP) and the Criminal Investigator Training Program

(CITP) with a total combination of over 800 hours of classroom and practical

training. I have completed ATF’s Special Agent Basic Training (SABT) academy

with over 500 hours of classroom and practical training. I am presently assigned to

ATF’s Lansing Office conducting narcotics/firearms investigations.




                                         1
 Case 1:24-mj-00185-PJG      ECF No. 1-1, PageID.3     Filed 05/10/24   Page 2 of 14




      3.     The facts in this Continuation come from my personal observations,

my training and experience, and information obtained from other agents,

investigators, and witnesses. This Continuation is intend ed to show merely that

there is sufficient probable cause for the requested warrant and does not set forth

all of my knowledge about this matter.

      4.     Based on the facts set forth in this Continuation, there is probable

cause to believe that violations of 21 U.S.C. § 841(a)(1), Distribution or Possession

with Intent to Distribute a Controlled Substance, and 18 U.S.C. § 922(g)(1), Felon in

Possession of a Firearm (hereinafter referred to as the “Target Offenses”) have been

committed by Nathanael WILSON. There is also probable cause to believe that the

location information described in Attachment B will constitute evidence of these

criminal violations. There is also probable cause to authorize law enforcement to

employ an electronic investigative technique, more fully described in Attachment B,

to determine the location of the Target Phone. I am also seeking in Attachment B,

pursuant to 18 U.S.C. § 3122(a)(1) 18 U.S.C. § 3123, authorization for the

installation and use of a pen register and a trap and trace device.

      5.     The Court has jurisdiction to issue the proposed warrant because it is a

“court of competent jurisdiction” as defined in 18 U.S.C. § 2711. Specifically, the

Court is a district court of the United States that has jurisdiction over the offenses

being investigated, see 18 U.S.C. § 2711(3)(A)(i).




                                           2
 Case 1:24-mj-00185-PJG         ECF No. 1-1, PageID.4   Filed 05/10/24   Page 3 of 14




                                  PROBABLE CAUSE

      6.     Upon review of WILSON’s criminal history, I located the following

felony convictions for WILSON:

     a.      02/01/2016: 29th Circuit Court of Michigan – Felony Controlled

             Substance –Operating/Maintaining a Laboratory in Presence of a

             Minor.

     b.      07/19/2021: 29th Circuit Court of Michigan – Felony Police Officer –

             Assaulting/Resisting/Obstructing.

     c.      2021 – 29th Circuit Court of Michigan– Felony Criminal Sexual

             Conduct – 3rd degree (Person 13-15).


      7.     On May 9, 2024, SA White spoke with the Clinton County Sheriff’s

Office regarding WILSON and his association with 5087 W Centerline Road, St.

Johns, Michigan 48879 (hereinafter referred to as the “Target Residence”) .

Investigators from the Clinton County Sheriff’s Office advised that they knew the

Target Residence belonged to WILSON and that he was a part of a previous

narcotics investigation. In fact, I was advised that they responded to a residential

structure   fire   that   was    believed   to   be caused by the manufacture of

methamphetamine. WILSON pled guilty to Operating and Maintaining a

Laboratory in the Presence of a Minor in the 29th Circuit Court of Michigan (CFN:

15-009526-FH).

      8.     I queried the Target Phone in TLO, a law enforcement database, and

the results confirm that the Target Phone is associated with WILSON.


                                             3
 Case 1:24-mj-00185-PJG     ECF No. 1-1, PageID.5     Filed 05/10/24   Page 4 of 14




Confidential Informant Information

      9.    In February of 2024, SA Joshua White and TFO Trevor Arnold had

contact with ATF CI 32207 regarding WILSON.1 CI 32207 is known to me, but I

have not provided identifying information in this warrant. CI 32207 has previously

provided reliable information to the government and other law enforcement

agencies regarding multiple suspects that have been corroborated and used to

support probable cause in multiple state search warrant applications and have

resulted in the seizure of narcotics. I have found CI 32207 to be truthful and

reliable.

      10.   CI 32207 advised       that WILSON sells methamphetamine and

distributes narcotics while armed with a firearm. CI 32207 has seen WILSON with

a firearm on multiple occasions. CI 32207 also advised that WILSON is a convicted

felon. CI 32207 reported that WILSON’s phone number is the Target Phone, and

that WILSON drives a white Chevy Express van, a red Ford F-150, and a white

Toyota Corolla with Michigan license plate CMD258, which is registered to

WILSON’s wife. CI 32207 has seen WILSON with at least six firearms. CI 32207

identified the Target Residence as WILSON’s residence.

First Controlled Purchase – the Fourth Week in April 2024

      11.   During the fourth week in April, 2024, investigators began preparing

for a controlled purchase of narcotics from WILSON. Directly prior to the controlled




1 CI 32207 is cooperating with law enforcement for financial gain.


                                         4
 Case 1:24-mj-00185-PJG        ECF No. 1-1, PageID.6   Filed 05/10/24   Page 5 of 14




purchase,   Lansing Police      Department Officer Zolnai established roaming

surveillance on 4512 W Centerline Road, St. Johns, MI.

      12.    Prior to the controlled purchase, at SA White’s direction, CI 32207 text

messaged WILSON at the Target Phone. CI 32207 text messaged WILSON

setting up the controlled purchase of methamphetamine in exchange for $80.00 of

prerecorded government funds. WILSON wrote in a text message, “Hurry up I’m

out of gas at the new farm.”

      13.    Prior to the controlled purchase, SA Mascorro, SA White, and an

undercover Lansing Police Department Officer (hereinafter referred to as “UC”) met

with CI 32207 at a pre-determined meet location. SA White, in the presence of UC,

searched CI 32207’s person for currency and contraband with negative results,

provided CI 32207 with electronic recording equipment, and provided CI 32207 with

prerecorded government funds.

      14.    At approximately 5:45 p.m., prior to the controlled purchase taking

place, WILSON called CI 32207 and confirmed that CI 32207 was still coming. [This

contact was made in the presence of the UC and was made unexpectedly].

      15.    Prior to the controlled purchase, at SA White’s direction, CI 32207

placed a recorded telephone call to WILSON at the Target Phone. During this call

CI 32207 advised WILSON that he was still on his way and asked WILSON if it

was alright if he still stopped by. WILSON responded, “yeah, yeah, I’m here.”




                                           5
 Case 1:24-mj-00185-PJG      ECF No. 1-1, PageID.7   Filed 05/10/24   Page 6 of 14




      16.   At approximately 6:11 p.m., CI 32207 and the UC departed the

predetermined meet location in the UC vehicle with the UC as the driver and CI

32207 as the front seat passenger.

      17.   At approximately 6:15 p.m., the UC and CI 32207 arrived at 4512 W

Centerline, and CI 32207 exited the vehicle. The controlled purchase took place

between approximately 6:15 p.m., and 6:27 p.m.

      18.   During the controlled purchase, the UC observed WILSON standing in

the driveway of 4512 W Centerline. Once the UC and CI 32207 arrived, CI 32207

exited the UC vehicle and walked to the back of the property with WILSON. During

this time, the UC observed a white sedan bearing license plate CMD258.

Approximately 12 minutes later, CI 32207 and WILSON returned to the area where

the UC vehicle was parked.

      19.   At approximately 6:27 p.m., CI 32207 and the UC departed from the

area of 4512 W Centerline and subsequently met SA Mascorro and SA White at a

predetermined location.

      20.   CI 32207 was accompanied by the UC from the purchase location back

to the predetermined meet location. Immediately after the controlled purchase CI

32207 gave the UC one plastic container filled with suspected methamphetamine

and the electronic recording equipment. The UC then provided these to SA White.

SA White searched CI 32207 for currency and contraband with negative results. SA

Mascorro and SA White then met with CI 32207. CI 32207 provided the following

information regarding the controlled purchase of suspected methamphetamine:



                                         6
Case 1:24-mj-00185-PJG     ECF No. 1-1, PageID.8     Filed 05/10/24   Page 7 of 14




        a. CI 32207 met with WILSON at 4512 W Centerline Rd St.
           Johns, MI.

        b. WILSON provided CI 32207 with the suspected
           methamphetamine in exchange for $80.00 in prerecorded
           government funds.

        c. WILSON retrieved the methamphetamine from a red dodge
           vehicle where CI 32207 also observed additional
           methamphetamine being stored.

        d. CI 32207 observed WILSON had a pistol inside of his boot
           during the controlled purchase. CI 32207 also observed a rifle
           inside of the garage on a cabinet.

      21.   Upon return to the LPD Operations Center, the knotted plastic

container containing the suspected methamphetamine was field tested . The

substance tested positive for the presence of methamphetamine.

CI 32207 Contact – First Week of May 2024

      22.   During the first week in May 2024, CI 32207 was at the Target

Residence, and sent SA White a picture of a firearm and suspected serial number,

which he took at the Target Residence. WILSON was at the Target Residence.

Surveillance of Target Residence – Second Week of May 2024

      23.   During the first week in May 2024, at approximately 2:44 p.m., SA

White and SA Hurt conducted drive-by surveillance at the Target Residence and

observed multiple vehicles and a white male matching the description of WILSON

outside of the Target Residence.

Attempted Controlled Purchase – Second Week of May 2024

      24.   Prior to the controlled purchase taking place, CI 32207 had unrecorded

telephone contact with WILSON at the Target Phone. During this contact, CI
                                        7
Case 1:24-mj-00185-PJG     ECF No. 1-1, PageID.9    Filed 05/10/24   Page 8 of 14




32207 set up deal to purchase $80.00 worth of methamphetamine from WILSON at

the Target Residence.

      25.   Prior to the controlled purchase, SA Mascorro and SA White met with

CI 32207 at a pre-determined meet location. SA White, in the presence of SA

Mascorro, searched CI 32207’s person and vehicle for currency and contraband with

negative results, provided CI 32207 with electronic recording equipment, and

provided CI 32207 with prerecorded government funds.

      26.   At approximately 3:00 p.m., CI 32207 departed the predetermined

meet location in the UC vehicle with CI 32207 as the driver and only occupant of

the vehicle. SA Mascorro and SA White surveilled CI 32207 from the pre-

determined meet location to the Target Residence. CI 32207 then exited his vehicle

and met with WILSON. The attempted controlled purchase took place between

approximately 3:08 p.m., and 3:56 p.m.

      27.   The controlled purchase did not occur, and the deal was canceled. At

approximately 3:56 p.m., CI 32207 departed the area of the Target Residence and

subsequently met SA Mascorro and SA White at a predetermined location.

      28.   CI 32207 provided the following information regarding the attempted

controlled purchase of methamphetamine from WILSON at the Target Residence:

                a. CI 32207 met with WILSON at the Target Residence.

                b. CI 32207 saw a jar filled with suspected methamphetamine

                   inside the Target Residence.




                                         8
Case 1:24-mj-00185-PJG      ECF No. 1-1, PageID.10      Filed 05/10/24   Page 9 of 14




                  c. CI 32207 was at the Target Residence on 5-6-24 and saw

                     methamphetamine. WILSON was present at this time.

                  d. WILSON was at the Target Residence with his wife.

                  e. WILSON had methamphetamine in his hand and then put it in

                     his pocket.

      TECHNICAL ASPECTS OF PHONE LOCATION INFORMATION

      29.      In my training and experience, I have learned that the Carrier

provides cellular telephone access to the general public. I also know that providers

of cellular telephone service have technical capabilities that allow them to collect

and generate at least two kinds of information about the locations of the cellular

telephones to which they provide service: (1) E-911 Phase II data, also known as

GPS data or latitude-longitude data, and (2) cell-site data, also known as

“tower/face information” or cell tower/sector records. E-911 Phase II data provides

relatively precise location information about the cellular telephone itself, either via

GPS tracking technology built into the phone or by triangulating on the device’s

signal using data from several of the provider’s cell towers. Cell-site data identifies

the “cell towers” (i.e., antenna towers covering specific geographic areas) that

received a radio signal from the cellular telephone and, in some cases, the “se ctor”

(i.e., faces of the towers) to which the telephone connected. These towers are often a

half-mile or more apart, even in urban areas, and can be 10 or more miles apart in

rural areas.     Furthermore, the tower closest to a wireless device does not




                                          9
Case 1:24-mj-00185-PJG       ECF No. 1-1, PageID.11   Filed 05/10/24   Page 10 of 14




necessarily serve every call made to or from that device. Accordingly, cell-site data

is typically less precise that E-911 Phase II data.

      30.    Based on my training and experience, I know that the Carrier can

collect E-911 Phase II data about the location of the Target Phone, including by

initiating a signal to determine the location of the Target Phone on the Carrier’s

wireless network or with such other reference points as may be reasonably

available.

      31.    Based on my training and experience, I know that the Carrier can

collect cell-site data about the Target Phone.         Based on my training and

experience, I know that for each communication a cellular device makes, its wireless

service provider can typically determine: (1) the date and time of the

communication; (2) the telephone numbers involved, if any; (3) the cell tower to

which the customer connected at the beginning of the communication; (4) the cell

tower to which the customer connected at the end of the communication; and (5) the

duration of the communication. I also know that wireless providers such as the

Carrier typically collect and retain cell-site data pertaining to cellular devices to

which they provide service in their normal course of business in order to use this

information for various business-related purposes.

      32.    I also know that the Carrier maintains a proprietary system for cell

phone timing advance or per call data measurement known as the True Call, I am

also requesting such data.




                                          10
Case 1:24-mj-00185-PJG     ECF No. 1-1, PageID.12     Filed 05/10/24   Page 11 of 14




                         AUTHORIZATION REQUEST

      33.   Based on the foregoing, I request that the Court issue the propo sed

search warrant, pursuant to Federal Rule of Criminal Procedure 41 and 18 U.S.C. §

2703(c).

      34.   Because this warrant seeks information that is and/or will be in the

Carrier’s possession and control, it is my understanding that service of the warrant

on the Carrier fulfills my notice requirement under Fed. R. Crim. Pro. 41(f)(1)(C).

Accordingly, the requested warrant does not seek permission to delay notice in

serving the subscribers under 18 U.S.C. § 3103a. If the Court believes I have an

obligation to serve a copy of the requested warrant on Target Phone’s

subscriber(s), I will submit a revised application requesting permission to delay

notice.

      35.   Prospective location information relating to Target Phone is also

sought based on the authority of the Pen Register Statute, 18 U.S.C. § 3121 et seq.

The government therefore also complies with the provisions of that statute,

including by providing the required certification by the attorney for the government

as Attachment C to this warrant. Pursuant to the Pen Register Statute, upon an

application made under 18 U.S.C. § 3122(a)(1) a court “shall enter an ex parte order

authorizing the installation and use of a pen register or trap and trace device

anywhere within the United States, if the court finds that the attorne y for the

government has certified to the court that the information likely to be obtained by




                                        11
Case 1:24-mj-00185-PJG      ECF No. 1-1, PageID.13    Filed 05/10/24   Page 12 of 14




such installation and use is relevant to an ongoing criminal investigation.” 18

U.S.C. § 3123(a)(1).

      36.    In my training and experience, I have learned that cellular phones and

other cellular devices communicate wirelessly across a network of cellular

infrastructure, including towers that route and connect individual communications.

When sending or receiving a communication, a cellular device broadcasts certain

signals to the cellular tower that is routing its communication. These signals

include a cellular device’s unique identifiers.

      37.    To facilitate execution of this warrant, law enforcement, including but

not limited to the ATF, will use an investigative device or devices (sometimes

referred to as a Cell Site Simulator or Wi-Fi geolocation device) capable of

broadcasting signals that will be received by Target Phone, or receiving signals

from nearby cellular devices, including Target Phone. Such a device may function

in some respects like a cellular tower, except that it will not be connected to the

cellular network and cannot be used by a cell phone to communicate with others.

The device may send a signal to Target Phone and thereby prompt it to send

signals that include the unique identifier of the devices. Law enforcement may

monitor the signals broadcast by Target Phone and use that information to

determine Target Phone’s location, even if it is located inside a house, apartment,

or other building.

      38.    The investigative device may interrupt cellular service of phones or

other cellular devices within its immediate vicinity. Any service disruption to



                                          12
Case 1:24-mj-00185-PJG      ECF No. 1-1, PageID.14      Filed 05/10/24    Page 13 of 14




devices other than Target Phone will be brief and temporary, and all operations

will attempt to limit the interference with such devices. To connect wi th Target

Phone, the investigative device may briefly exchange signals with all phones or

other cellular devices in its vicinity.      These signals may include cell phone

identifiers. The investigative device will not complete a connection with cellular

devices determined not to be Target Phone, and law enforcement will limit

collection of information from devices other than Target Phone. To the extent that

any information from a cellular device other than Target Phone is collected by the

law enforcement device, law enforcement will delete that information, and law

enforcement will make no investigative use of it absent further order of the court,

other than distinguishing Target Phone from all other cellular devices.

      39.    I further request that the Court direct the Carrier to disclose to the

government any information described in Attachment B that is within the

possession, custody, or control of the Carrier. I also request that the Court direct the

Carrier to furnish the government all information, facilities, and technical

assistance necessary to accomplish the collection of the information described in

Attachment B unobtrusively and with a minimum of interference with the Carrier’s

services, including by initiating a signal to determine the location of the Target

Phone on the Carrier’s network or with such other reference points as may be

reasonably available, and at such intervals and times directed by the government.

The government shall reasonably compensate the Carrier for reasonable expenses

incurred in furnishing such facilities or assistance.



                                          13
Case 1:24-mj-00185-PJG      ECF No. 1-1, PageID.15   Filed 05/10/24   Page 14 of 14




      40.   I further request that the Court authorize execution of the warrant at

any time of day or night, owing to the potential need to locate the Target Phone

outside of daytime hours.




                                        14
